                 Case: 1:18-cv-01468 Document #: 6 Filed: 03/05/18 Page 1 of 3 PageID #:709                                                      ,\i
(Revised   l2ll l)
                            United States District Court Northern District of Illinois
                            MOTION FOR LEAVE TO APPEAR PRO HAC VICE
Case Title:
                     Whitebox Advisors, LLC
                                                                                                    E D              Plantiff(s)


                                                                            vs'         ilAR   oszorsu/
                     Earl of Sandwich (Atlantic City), LLC


Case     Number: 18-cv-1468                                       Judge: Honorable Judge Robert W. Gettleman


       Robert Loeb                                                                                          hereby apply to the Court


under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf                         of

Whitebox Advisors, LLC                                                                             by whom I have been retained.


I am a member in good standing and eligible to practice before the following courts:

                                                 Title of Court                                                         DateAdmitted

                                                See Attachment




I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions:
                                                                                                            Date of Application
       Case Number                                           Case Title                                     (Granted or Denied)*




 *lfdenied, please explain:
(Attach additional form if
necessary)

Pursuant to Local Rule 83. I 5(a), applicants who do not have an office within the Northem District of Illinois must designate, at the
time of filing their initial notice or pleading, a member of the bar of this Court having an office within this District upon who service   of
papers may be made.




 Ifyou
                                     Has the applicant designated local   counselr     v". fJ                No
                                                                                                                    tr
         have not designated local counsel, Local Rule 83.15(b) provides that the designation must be made w ithin thirty (30) days.
               Case: 1:18-cv-01468 Document #: 6 Filed: 03/05/18 Page 2 of 3 PageID #:710
Has the applicant ever been:

censured, suspended, disbarred, or otherwise disciplined by any court?                  Yes
                                                                                                tr             No
                                                                                                                      V
or is the applicant currently the subject ofan investigation ofthe
applicant's professional conduct?                                                        Yes
                                                                                                tr             No
                                                                                                                      a
transferred to inactive status, voluntarily withdrawn, or resigned from the
bar ofany court?                                                                         Yes
                                                                                                tr             No
                                                                                                                      V
denied admission to the bar of any court?                                                Yes
                                                                                                tr             No
                                                                                                                      V
held in contempt of court?                                                               Yes
                                                                                                tr             No
                                                                                                                      V
NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant's current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant's conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northem District of Illinois and the Standards for Professional Conduct within
theseventhFederal Judicial Circuit,andwill faithfullyadheretothem. Ideclareunderpenaltyofperjurythattheforegoingistrueand
correct.


March 2,2018                                               97 Robert Loeb

                                                                      Electronic Signature of Applicant

                               Last Name                                          First Name                            Middle Name/Initial
Applicant's Name
                             Loeb                                                Robert
                                                                                                                           NA,
Applicant's Law Firm         Orrick, Herrington & Sutcliffe LLP

                               Street Address                                                                           Room/Suite Number
Applicant's Address
                               1152 15th Street, N.W.

                               City                         State                 ZIP Code              Work Phone Number

                             Washington                    D.C.                  20005-1706             202-339-8475

(The pro hac vice admission fee is $100.00 for cases filed before February l, 2001, and $50.00 for cases filed on or after that
date, and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such time as the fee has been paid.)



NOTE: Attomeys         seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court. The
           fee for admission to the General Bar is $ 176.00 The fee for pro hac vice admission is $ 100.00 for cases file d before February 1,
           200 I , and $50.00 for cases filed after that date. Admission to the general bar permits an attorney to practice before this Court.
           Pro hac vice admission entitles an attorney to appear in a particular case only. Application for such admission must be made in
           each case; and the admission fee must be paid in each case.




                                                                                         PAID
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                        Court                                Date Admitted

District of Columbia                                      November 5, 2010

United States Supreme Court                               April24, 1995

United States Court of Appeals for the D.C. Circuit       November 15, 1988

United States Court of Appeals for the 1st Circuit        May 5, 1993

United States Court of Appeals for the 2nd Circuit        July   21,2002

United States Court of Appeals for the 3rd Circuit        March 19,2013

United States Court of Appeals for the 4th Circuit        Sept. 6, 1990

United States Court of Appeals for the Sth Circuit        Oct. 25,1988

United States Court of Appeals for the 6th Circuit        December 4,2013

United States Court of Appeals for the 7th Circuit        May27,1988

United States Court of Appeals for the 8th Circuit        October 21,2013

United States Court of Appeals for the 9th Circuit        February 19,1992

United States Court of Appeals for the 1Oth Circuit       January26,1989

United States Court of Appeals for   the   11th Circuit   March 18,2013

United States Court of Appeal for the Federal Circuit     March 21,2013

United States Supreme Court                               April24, 1995
